                           UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF MISSOURI
                                 SOUTHERN DIVISION

MICHAEL AMICK and SARA AMICK,                          )
                                                       )
                                     Plaintiffs,       )
                                                       )
       vs.                                             )   Case No. 17-CV-03391
                                                       )
OREGON COUNTY, MISSOURI,                               )
ALTON, MISSOURI, SAM BARTON,                           )
KASS BRAZEAL, MICHAEL JOHNSON,                         )
ERIC KING, DARRIN SORRELL,                             )
TIM WARD, and RUSTY WARREN,                            )
                                                       )
                                     Defendants.       )

                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that complete copies of Eric King, Darrin Sorrell and

Tim Ward’s Objections to Plaintiff Michael Amick’s Third Set of Interrogatories were forwarded

via electronic mail in PDF format, on this 15th day of February, 2019 upon:

Mr. Josh Loevy
Scott Rauscher
Loevy & Lovey
311 N. Aberdeen Street, 3rd Floor
Chicago, IL 60607

David S. Baker
Fisher, Patterson, Sayler & Smith, LLP
9229 Ward Parkway, Suite 370
Kansas City, MO 64114


Mr. Kenneth Berra
Fisher, Patterson, Sayler & Smith, LLP
51 Corporate Woods, Suite 300
Overland Park, KS 66210



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Kevin M. Zoellner
Assistant Attorney General
State of Missouri
Attorney General’s Office
Supreme Court Building
P.O. Box 899
Jefferson City, MO 65102

Caleb Wagner
Adam Wright
Nicolas Taulbee
Assistant Attorney General
615 E. 13th Street, Suite 401
Kansas City, MO 64106


                                     Respectfully submitted,

                                     KECK, PHILLIPS & WILSON, LLC

                                     By:   /s/Matthew D. Wilson
                                       Patricia A. Keck          #42811
                                       Matthew D. Wilson         #59966
                                       3140 E. Division
                                       Springfield, Missouri 65802
                                       Phone: 417-890-8989
                                       Email: pat@kpwlawfirm.com
                                               matt@kpwlawfirm.com
                                       Attorneys for Defendants Oregon County,
                                       King, Ward and Sorrell




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